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                         Exhibit A
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                                                              U.S. Department of Justice

                                                              Criminal Division



 Office of the Assistant Attorney General                     Washington, D.C. 20530



                                                                  JUL 2 7 2021
 Tracy Wilkison
 Acting United States Attorney
 Central District of California
 312 North Spring Street
 Los Angeles, California 90012

 Attention:         Poonam Kumar
                    Assistant United States Attorney

          Re:        United States v. Zhongtian Liu, et al.

 Dear Ms. Willcison:

         Pursuant to the authority vested in me by 18 U.S.C. § 6003(b) and 28 C.F.R. § 0.175(a), I
 hereby approve your request for authority to apply to the United States District Court for the
 Central District of California for an order, pursuant to 18 U.S.C. §§ 6002-6003, requiring
 Yihwou Howard Chen to give testimony or provide other information in the above matter and in
 any further proceedings resulting therefrom or ancillary thereto, provided that he refuses to
 testify or provide information on the basis of the privilege against self-incrimination and the
 Court determines the availability of a legitimate basis to do so.

                                                              Sincerely,



                                                              Amanda N. Liskamm
                                                              Acting Deputy Assistant Attorney General
